 

UNITED STATES COURT OF APPEALS
FOR THE NINTH CIRCUIT
Form 5. Notice of Appeal from a Judgment or Order of the
Bankruptcy Appellate Panel

 

 

Name of debtor: | Carol Lee Depuydt-Meier

 

 

Bankruptcy Appellate Panel (BAP) case number:| NC-21-1001, NC-21-1002

 

 

 

Date case was first filed in BAP:| 12/29/2020

 

 

 

 

 

Date of judgment or order you are appealing: | 12/15/2020

 

Fee paid for appeal? C Yes © No

 

List all Appellants (List each party filing the appeal. Do not use “et al.” or other abbreviations.)

 

Debtor Carol Lee Depuytd-Meier

 

 

Is this a cross-appeal? © Yes © No

 

 

 

If Yes, what is the first appeal case number?

 

Was there a previous appeal in this case? C Yes © No

 

 

 

If Yes, what is the prior appeal case number?

 

Your mailing address:

61 Rudgear Dr.

 

 

 

 

 

 

 

 

City: |Walnut Creek State: |CA Zip Code:|94596

 

 

 

 

 

 

 

 

 

 

 

Prisoner Inmate or A Number (if applicable):
Ly 4 Zp

 

 

  
 
 

 

 

 

 

Signature

 

 

Form 5 , , Rey, 12/01/2018
 

UNITED STATES COURT OF APPEALS
FOR THE NINTH CIRCUIT

Form 6. Representation Statement
Instructions for this form: http://www.ca9.uscourts.gov/forms/form06instructions.pdf

Appellant(s) (List each party filing the appeal, do not use “et al.” or other abbreviations.)
Name(s) of party/parties:

 

Carol Lee Depuydt-Meier

 

Name(s) of counsel (if any):

 

None

 

 

 

Address:

 

 

 

Telephone number(s):
Email(s):
Is counsel registered for Electronic Filing in the 9th Circuit? C Yes C No

 

 

 

 

 

 

 

Appellee(s) (List only the names of parties and counsel who will oppose you on appeal. List
separately represented parties separately.)

Name(s) of party/parties:
U.S. Bank, NA, as Legal Title Trustee

 

 

Name(s) of counsel (if any):
Diane V. Weifenbach

 

 

 

 

Address: |5120 E. LaPalma Ave. #209
Telephone number(s): |714-695-6637

 

 

 

 

 

 

 

 

Email(s): |Diane@attylsi.com

 

To list additional parties and/or counsel, use next page.

      

  

Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

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2/01/2018
 

Continued list of parties and counsel: (attach additional pages as necessary)

Appellants
Name(s) of party/parties:

 

 

Name(s) of counsel (if any):

 

 

 

 

Address:

 

 

 

 

Telephone number(s):
Email(s):
Is counsel registered for Electronic Filing in the 9th Circuit? C Yes © No

Appellees
Name(s) of party/parties:

 

 

 

 

 

 

 

 

Name(s) of counsel (if any):

 

 

 

 

 

Address:

 

 

 

Telephone number(s):
Email(s):

 

 

 

 

 

Name(s) of party/parties:

 

 

Name(s) of counsel (if any):

 

 

 

 

 

Address:

 

 

 

Telephone number(s):

Email(s):

 

 

 

 

 

 
   

 

Feedback or questions about
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